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Case 2:98-cv-00531-LRH-VCF Document 61

ROGER I. ROOTS, ESQ.

Attorney at LaW

Pro Hac Vice*

Rhode lsland Bar No. 6752

113 Lake Drive East

Livingston, MT 59047

Tel: (406) 224-3105

Email: rogerroots@msn.corn

Attorney for Defendant, Cliven D. Bundy

ROBERT O. KURTH, JR.

Nevada Bar No. 4659

KURTH LAW OFFICE

3420 North Buffalo Drive

Las Vegas, NV 89129

Tel: (702) 43 8-5810

FaX: (702) 459-1585

E-mail: kurthlawofflce@gmail.com
NV Resident Attorney for Defendant,
Cliven D. Bundy

Filed 11/14/17 Page 1 of 17

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

 

UNITED STATES OF AMERICA,
Plaintiff,

V.

CLIVEN D. BUNDY,
Defendant.

 

 

 

CASE NO.: 2:98-cV-0053 l-LRH-VCF

z DEFENDANT BUNDY’S MOTION

TO REOPEN, SET ASIDE &

§ VACATE oRDERS (ECF NO. 55 &
; ECF NO. 56) PURSUANT To RULE

60(b) (With attached afndavit)

 

EVIDENTIARY HEARING REQUESTED

Certification: The following Motion is filed Within a reasonable time.1

 

1 See page 8-9 of this document

*Application for pro hac vice admission pending ll/ 13/2017

 

 

 

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COMES NOW the Defendant, Cliven D. Bundy, by and through his counsel, and
respectfully files this Rule 60(b) Motion to Reopen, Set Aside & Vacate Orders (ecf no. 55
& ecf no. 56) pursuant to Rule 60 (b) of the Federal Rules of Civil Procedure, and hereby
requests that this Court set aside, amend,- modify or vacate the final orders in this case-
Civil Action 2:98-cv-00531. The Defendant incorporates his Mernorandum of Points and

Authorities in Support of his Motion and states the following:

MEMORANDUM OF FOINTS AND AUTHORITIES

I. FACTUAL BACKGROUND

The Defendant, Cliven D. Bundy (hereinafter “Cliven” or “Defendant” or “Bundy”),
age 71, owns and operates the Bundy Cattle Ranch approximately seventy-five miles north
of Las Vegas, Nevada. Cliven and his large family come from a long line of cattle ranchers
Who have ranched. and grazed cattle in the Bunkerville, NV area. In fact, the Bundy Ranch
and its predecessors-in-interest began the operation in the 1870s, predating the existence of
the General Land Office (hereinafter “GLO”) or the Bureau of Land Management
(hereinafter “BLM”).

Out of fifty-three (53) cattle ranchers that once grazed cows in Clark County, Nevada;
nearly all of them have folded and gone out of business due to the oppressive and
unconscionable practices and policies of the BLM and the Department of Interior. To date,

Cliven Bundy2 is the last cattle rancher standing in Clark County, Nevada.

 

2 It is important to note that not only is Cliven Bundy the last rancher
standing in Clark County, Nevada; but he is also presently being held as a pre-
trial detainee for the past eighteen months in a Pahrump, Nevada private
prison With no bail set by the district court in Nevada because it has been
determined that Bundy is a future danger to his community While he stands

 

 

 

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Bundy and his predecessors in interest have built and maintained a number of
improvements on the rangeland in question Pursuant to federal and state law as well as
long-established custom and practice, range and water improvements on public ranges are
the property of the ranch to Which they are associated, and such property rights are
grandfathered and run with the land.

THE 2014 CATTLE IMPOUND OPERATION

Upon information and belief, the District Court’s October 8, 2013 order authorizing
the United States to “seize and remove to impound” Bundy’s cattle was used by the federal
government in 2014 to justify the largest infringement of First Amendment rights (by area)
in American history. BLM officers limited First Amendment rights.in an area of hundreds
of thousands of acres to two isolated penned enclosures totaling less than a quarter-acre in
size. Officers also cited the order as authorization to close public roadways, close off tens of
thousands of acres of land to the public, and falsely arrest a Bundy family member who

lawfully parked on a state highway to photograph officers

Defying county officials, the federal officers chose calving season-the Very time when
cows and newborn calves are most physically weak and vulnerable-to execute the District
Court’s order. They orchestrated a para-militarized roundup operation using helicopters to

terrify the cattle into stampeding to the point of exhaustion in extreme heat so that the cattle

could be captured.

To “seize and remove to impound any of Bundy’s cattle that remain” (as authorized

by the order), the Bureau of Land Management mobilized over three-hundred (300)

 

trial on (16) counts of federal crimes drafted by the same U.S. Attorney, Nadia
Ahmed, that prosecuted him for trespass civilly in 2012, 2013 infra.

 

 

 

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employees, contractors and other federal agents During the operation, BLM and its
contractors gathered some four-hundred (400) cattle and confined them inside pens near a
sandy desert wash outside Bunkerville, Nevada. At least forty (40) head of cattle either died
from unnatural causes or were shot and killed by BLM employees and contractors working

under the direction of BLM.

BLM employees and contractors impermissibly utilized large earth moving
equipment to bury voluminous numbers of cattle killed by the BLM through its employees
and contractors BLM employees further used heavy earth moving equipment to destroy
thousands of acres of Bundy’s ditches, wells, irrigation lines and other water propelling
systems engineered to nourish cattle by the Bundy’s and their predecessors in interest for
the previous one hundred (100) years Several hundred-thousand dollars in range
improvements implemented by the Bundy’s over the last century were impermissibly

destroyed by BLM employees

Upon information and belief, BLM officers or agents used the order as an excuse to
desecrate graves of historic prospectors on the Bunkerville Allotment in April 2014. In their
zeal to harm Bundy and destroy the Bundy Ranch, the BLM wantonly dismantled or ruined

infrastructure and improvements solely out of spite or vindictiveness

Executing officers Wore battlearmor, bore semi-automatic weapons and deployed
undercover informants and operatives throughout the community. A communications
operation was set up to coordinate surveillance of Bundy family members and supporters
Members of the local community found themselves shouted at and threatened by BLM

officers throughout the Bunkerville area.

 

 

 

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In response, hundreds of citizens journeyed from all over this country to protest the
BLM operation. As a direct result of the public protest and national outcry, the BLM halted
their cattle gather and-at the apparent direction of the U.S. Attorney’s office-immediately

Withdrew from the area without releasing any of the gathered cattle from pens on or about

' April 12, 2014. The cattle would have died had not members of the Bundy family released

them back onto the range.

II. PROCEDURAL BACKGROUND
A. The Initial Proceeding (1998)

ln 1998, an ongoing dispute came to a head between Cliven Bundy and the BLM

regarding purported grazing fees the BLM claimed were owed by Cliven Bundy for grazing

cattle on public land. As a result of this dispute, the BLM, by and through the U.S. Attorney
in the District Court of Nevada, commenced its [first] civil action for failure to pay grazing
fees against Cliven Bundy couched as a declaratory and injunctive relief action for civil
trespass3 on March 27, 1998. On November 4, 1998, the District Court issued an order of
judgment for the government and against Cliven Bundy. [Case: 531; ECF No. 20] Further,
the government filed a motion for damages [Id. at ECF No 21]. Bundy immediately
appealed to the Ninth Circuit and moved the district court to stay its order. [Id. at ECF No
35] Essentially, the district court granted the government’s Motion to enforce judgment with
modifications [Id at ECF No. 45].

On September 17, 1999, the district court found fifty-one (51) of Bundy’s cows were
trespassing and ordered 1) Bundy to remove his cattle from the allotment See ECF No. 19 ;

that 2) Bundy was to pay to the US $45.90 per day for each day his cattle remained on the

 

3 Cliven Bundy defended himself pro se with no assistance from any
attorney in this case as well as in several related cases infra prior.

 

 

 

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allotment commencing 1/ 1/ 99 ; that 3) Bundy Was to pay US $4,123.06 for the expense
incurred by the BLM for the 12/ 15 / 98 trespass detection flight. [Id at ECF No. 45 & ECF No.
46].

After said order and judgment were entered by the district court in 1999, neither the
government, the BLM nor any other federal agency sought further assistance or legal
oversight from the district court; nor did they invoke Fed. R. Civ. P 70 [or] employ local law
enforcement to collect or otherwise remove the Bundy cattle pursuant to Title 43 U.S.C 1733.

B. Case No. 2:16-cv-00804 (The “New Trespass Lands” Case)

The 1998 and 1999 orders Were never executed or enforced, and the case became

.dormant, dead and closed after a decade (according to every known test of legal

construction). However, on May 14, 2013, thirteen (13) years after the previous action, the
United States filed yetanother civil complaint4 against Cliven Bundy in the same district
court. [Case 804 ; ECF No. 1]. Essentially, the government made the same allegations against
Bundy and sought declaratory and injunctive relief again. This time, however, the
government claimed_based on very little evidence-that Bundy was grazing cattle on “new
trespass lands” designated as the Lake Mead National Recreation Area. The government
asked the court to declare Cliven Bundy Was trespassing; and then asked the district court
to order Bundy to remove his cattle from the Gold Butte allotment of the open range in Clark
County, Nevada. Id.

Cliven Bundy, appeared pro se again in Case 804. ln late 2013, the District Court
issued summary judgment against Bundy and Bundy filed an appeal to the Ninth Circuit.
After Bundy failed to perfect the appeal, the Ninth Circuit clerk summarily dismissed the

appeal. (Bundy is now seeking to recall the mandate, see Case No. 13-16623 (9th Cir.).)

 

4 See Case No.: 2:12-cv-000804 (hereinafter referred to as “Case 804”)

 

 

 

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C. PROCEEDINGS IN 2012

While Bundy Was battling the government and BLM in Case 804, the U.S. Attorney’s
Office filed a Noti'ce of Related Cases in this, 1999 dormant time-barred action on June 6,
2012. However, no further pleadings or notices were filed or any action taken by the
government in this Case until nearly one (1) year later.

On April 11, 2013, Terry Petrie, a Department of Justice (“DOJ”) attorney filed a
Motion to Enforce Judqment/Iniunction and attached four (4)'exhibits [ECF No. 50]. Then,
Mr. Petrie filed approximately fifteen (15) additional exhibits including an affidavit from a
BLM Agent named Jesus Navarro approximately one week afterward [ECF No’s. 51, 52].
The exhibits appear to be the same exhibits filed in Case 804.

Bundy diligently litigated against the government in both cases supra until May 15,
2013 for Case 804; and until October 9, 2013 for this Case - 531. The district court ruled in
favor of the government in both cases ; essentially ordering Bundy to remove the cows from
the same land where his forefathers and predecessors in interest had been grazing cattle for
nearly one hundred fifty (150) years prior.

The government previously obtained a summary judgment in this case, along with a
court order on or about October 8 2013 authorizing the United States to “seize and remove
to impound” Bundy’s cattle on the range. “It is further ordered,” wrote the District Court,
that the United States is entitled to “seize and remove to impound” any Bundy cattle found

trespassing on the range in the future.

III. LAW AND ARGUMENT

Rule 60(b) of the F ederal Rules of Civil Procedure provides that “On motion and
just terms, the court may relieve a party or its legal representative from a final judgment,

order, or proceeding for [certain specific] reasons,” including where the judgment is void

 

 

 

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(Subsection (b)(4)), where “the judgment has been satisfied, released, or discharged, . . . or
applying it prospectively is no longer equitable” (Subsection (b)(5), or where “any other
reason justifies relief” (Subsection' (b)(6).
In this case, all three subsections described above (60(b)(4), 60(b)(5) and 60(b)(6),
apply to this matter and should be given deference
I. ARGUMENT

a. The 531 Order is Void Pursuant to Rule 60(b)(4), for vagueness
and otherwise.

First, the October 8, 2013 order is void on its face, as a reasonable officer executing it
cannot determine its precise scope or limitations Rule 65(d) of the F ederal Rules of Civil
Procedure requires the language of injunctions to be reasonably clear so that ordinary
persons will know precisely what action is proscribed or required See United States jv.
Holtzman, 762 F.2d 720, 726 (91.h Cir. 1985). Because of the strong policy of clarity behind

rule 65(d), all ambiguities are resolved in favor of the person subject to the injunction. Id.

The order in question, authorizing “the United States” to “seize and remove to
impound” cattle was used to justify not only the impoundment of cattle (with an apparent
intent by United States to convert the cattle to government ownership) but the wholesale
destruction of hundreds of thousands of dollars of range improvements without
compensation as required by federal law.5 Executing officers used the order as an excuse to
close off tens of thousands of acres to the public, to erect ‘first amendment zones,’ and to

convert Bundy cattle (and/ or the cattle of others) to the ownership of the United States

 

5 See, among other things, the Federal Land Policy Management Act at 43 U.S.C. § 402, which requires compensation
for range improvements to a grazing-right owner whenever an allotment or permit is closed or canceled See also the 5th
amendment, which states that property shall not be taken without just compensation

 

 

 

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The plain language of the order (on page 5) states that “the United States is entitled
to seize and remove to impound any of Bundy’s cattle that remain after 45 days . . .” Nothing
in the phrase “seize and remove to impound” suggests any authorization to transfer title or
ownership in the cattle to the United States (Indeed, the very term impound means to safely
keep another’s property in the person’s behalf.) Yet in March and April of 2014, officers of
the United States purported to ‘execute’ the stale and unenforceable order by converting
Bundy cattle and claiming them as the United States’ own and preparing to ship them

outside the state for sale.

Nothing in the order authorized shipment out of state. Nothing in the order
authorized the United States to claim ownership in the cattle. Nothing in the order

authorized the killing of any cattle. The order merely authorized seizure and impoundment

Although a judgment is not void merely because it is erroneous it is void Where its
parameters are vague or indecipherable or where it is based on misinterpretation of the law
or issued outside lawful authority. Holtzman at 724. ln this case, the order is so
fundamentally boundless that its executing agents could not determine whether it had any

limitations Therefore, this motion is necessary to vacate, set aside or modify the order.

And, of course, a motion to vacate or set aside a judgment is never time-barred where
a judgment is void. See Meadows v. Dominican Republic, 817 F.2d 517, 521 (9th Cir. 1987)
(“There is no time limit on a Rule 60(b)(4) motion to set aside a judgment as void”); See
Sea-Land Serv., Inc. v. Ceramica Europa II, Inc., 160 F.3d 849, 852 (1st Cir. 1998) (if
judgment is void for lack of personal jurisdiction, Fed. R. Civ. P. 60(b) (4) motion to set aside
judgment may be made at any time); Carter v. Fenner, 136 F.3d 1000, 1006 (5th Cir. 1998)

(there is no time limit on attack on judgment that is void).

 

 

 

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b. The 531 Order is Satisfied Pursuant to Rule 60(b)(5).

The attempted execution of the Court’s October 2013 order Was peculiar and
abnormal in a number of ways The Department of lnterior, Bureau of Land Management
(BLM) has been the complainant throughout this case. The BLM is required by law to
recognize local easements longstanding ditches and water improvements and range
improvements and to compensate ranchers for destruction of property or for takings of
improvements Yet in this case, the BLM-the complainant-was enlisted to carry out the
court order it had obtained. The Court should have appointed a receiver or a special master,
and ordered a return, or a money accounting upon the execution of its order. Another, more

neutral, agency or entity such as the U.S. Marshals Service should have executed the orders

The placement of the antagonistic BLM in a position to execute the orders it had
obtained led to a fundamental conflict of interest. The BLM is openly hostile to Cliven Bundy
and used the District Court’s orders to unleash wanton destruction and otherwise abuse
Bundy and his family. Attached to this filing as the Defendant’s Exhibit “A” is an affidavit
of Dr. Angus Mclntosh, an appraiser of property rights and values on public lands, who
estimates that the BLM caused at least $400,000 of damage (measured by costs required
for full replacement) to Bundy water improvements corrals and other improvements (in

just one canyon area). This dollar amount more than offsets the fines and claims for

compensation present in this case.

Moreover, nothing in the Court’s order authorized such wholesale destruction of

range and water improvements nor to desecrate graves

Further, the Court’s order is essentially unlimited in its prospective breadth, as it
purports to allow the government to “seize and remove to impound” any Bundy cattle found

trespassing in the future indefinitely Such a limitless scope is beyond the proper

 

 

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jurisdiction of any court, and cries out for modification or relief under Rule 60(b)(5)

(allowing an order to be set aside when “applying it prospectively is no longer equitable.”)

c. The 531 Order is Barred by Equitable Estoppel Pursuant to Rule
60(b)(5)

The government is estopped from enforcing the order because, for more than a
decade after the 1999 order, the government allowed Bundy to make hundreds of thousands
of dollars of improvements on the land. During this case’s decade of dormancy, Cliven
Bundy and his family built important water and range improvements which BLM agents
acquiesced to have placed on the property. Consequently, Bundy relied to his detriment on
the government’s actions and inactions and acted with the good faith understanding that
the government recognized Bundy’s grazing rights

Many kinds of activities-- or inactivity- on the part of a party may permit the defense
of equitable estoppel to be asserted against him. A party's silence, for example, will work an
estoppel if, under the circumstances he has a duty to speak. A common example of this
occurs when a plaintiff knowingly permits a defendant to make expenditures or
improvements on property the latter believes to be his but which in fact the plaintiff knows
to be the plaintiffs property. See United States v. Georgia-Pacific Co., 421 F.2d 92 (9th Cir.
1970). No case in history illustrates such equitable estoppel as much as in this case.

d. The Government is estopped from enforcing the order
because it concealed the availability of free grazing from
Bundy.

Throughout this litigation, the Government has represented to Cliven Bundy_and to
the courts-that all cattle ranchers on public ranges must pay annual fees to the federal
government Yet federal law provides that ranchers (such as Bundy) whose base property

and residence adjoin public ranges and who need such ranges to support their domestic

 

 

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livestock are entitled to graze such livestock for free. Specifically, the Taylor Grazing Act, 43

U.S.C. §315(d) provides that:

The Secretary of the Interior shall
permit, under regulations to be
prescribed by him, the free grazing
within such districts of livestock
kept for domestic purposes

43 C.F.R. §4130.5 provides further details:
A free-use grazing permit shall
be issued to any applicant whose
residence is adjacent to public lands
within grazing districts and who
needs these public lands to support

those domestic livestock owned by
the applicant.

ld. (emphasis added).

Thus even as the United States was suing and representing to courts that Bundy must
pay the federal government for grazing, its agents were well aware that Bundy qualified for
free grazing of livestock in the district, under federal statutes

The Ninth Circuit’s decision in United States v. Wharton, 514 F.2d 406 (1975) is

directly on point. Where a descendant of a person who had originally settled on public land

approached government officials to determine what his family could do to gain title to land
and those government officials misrepresented that there was no way to gain title (at a time
when it was still possible to gain title by filing a new desert-entry application), estoppel
would be applied against the United States This was true even though the rancher acted in
bad faith or otherwise imperfectly. Id.

Under the rule of Wharton, the United States had a duty to inform Cliven Bundy of
the availability of 315 (d) free grazing permits-and to issue such a permit to Bundy. lnstead,

the government acted in bad faith to deceive Bundy (and this Court) with claims that

 

 

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Bundy’s grazing on the Bunkerville ranges constituted a near-catastrophic, apocalyptic

affront to federal law.

e. Extraordinary Circumstances Demand Setting Aside/Vacating the
Order Pursuant to Rule60(b) (6). The Order is Unenforceable.

ln March and April 2014, the Bureau of Land Management sought to execute the stale
and unenforceable order in this case using hundreds of heavily-armed federal agents
helicopters sniper teams undercover informants video and internet surveillance, land
closures and first amendment zones Agents cruised over the landscape in convoys shouting
at the American people and threatening them. The resulting outrage among the community
caused extreme damage to the social and physical landscape. These harms continue to
reverberate throughout the community.

Nevertheless despite spending tens of millions of dollars the combined forces of the
BLM, National Park Service, Park Police, FBI and U.S. Attorney’s Office were unable to
successfully carry out the order(s). l\/lore than a dozen men remain incarcerated while their
families live in poverty.

The United States had its opportunity to execute the Court’s orders in April 2014.
Notwithstanding, it failed despite massive expenditures and efforts made. Whereas it does
not appear that the United States through the various agencies has the ability to
successfully execute the stale and unenforceable order, and that it should be determined that
a successful execution is an impossibility and that an impossibility exists with regard to the
same.

At some point, the State of Nevada and its citizens cannot be unilaterally and
prejudicially controlled and regulated by the United States government through its various
agencies Consider that by now, Bundy cattle have been a natural component of the

rangelands around the Bunkerville area for generations upon generations throughout years

 

 

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and years Cattle graze in harmony with other livestock and wildlife, and have long been a
part of Nevada’s outdoor and recreational landscape, which is true of the Bundy’s cattle.
Moreover, Bundy’s range and water improvements have greatly increased the health and
vitality of the region’s wildlife and flora where the cattle graze and roam.

Whereas it should be determined that the District Court’s order(s) in this case are
almost certainly unenforceable, and even if they were enforceable, it would not occur
without the exacting of an extreme expenditure of government resources on Bundy and the
good people of the State of Nevada. There are already untold thousands of critics and
opponents of the BLM’s heavy-handed tactics that were used prior, who have soured on

government aggression on its citizens

WHEREFORE, the Defendant, Cliven D. Bundy, respectfully requests that this
Court grant the relief requested herein and SET ASIDE and VACATE the 2013 Injunctive
Relief Order (ECF No. 56); GRANT Bundy’s Motion for an evidentiary hearing; and grant

any other and further relief this Court deems proper and just.,

(An af}fidavit is attached to this Motion and is incorporated herein.)

Respectfully submitted by,

 

 

KURTH LAW OFFICE v

/s/ Roger I. Roots* /s/ Robert O. Kurth, Jr.
ROGER l. ROOTS, ESQ. . ROBERT O. KURTH, JR.
Attorney at Law Nevada Bar No. 465 9
Pro Hac Vice Counsel (application pending) 3420 North Buffalo Drive
Rhode lsland Bar No. 6752 Las Vegas, NV 89129

113 Lake Drive East Tel: 702-438-5810

Livingston, MT 59047 Fax: 702-459-1585

Tel: (406) 224-3105 Email: kurthlawoffice@gmail.com
Email: rogerroots@msn.com NV Resident Attorney for Defendant, v
Attorney for Defendant, Cliven D. Bundy Cliven D. Bundy

*Pro hac vice application pending.

 

 

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CERTIFICATE OF SERVICE

l, Robert O. Kurth, Jr., an employee of the Kurth Law C)ffice, does hereby certify that
a true and correct copy of the above and foregoing Motion was served upon counsel of

record, via electronic service via the CM/ECF system, on the 14th day of November, 2017.

/s/ Robert O. Kurth, Jr. .
An employee of the KURTH LAW OFFICE.

EXHIBIT “A”

 

 

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DECLARAT|ON OF ANGUS MC|NTOSH, PH.D.

l\/iy name is Dr. Angus lViclntosh and | reside in Craig, Colorado. l am of adult age and state the
following facts under my oath and under penalties of perjury. These facts are all within my personal

knowledge

1.

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ll.

l am Executive Director of the Range Allotment Owners Association. RAO represents the
interests and supports the property rights of 22,000 allotment owners in the 17 contiguous
Western States. Our webslte is rangeallotmentowners.com

I was Adjunct Professor of Agriculture at Te)<as A&l\/l teaching online courses for 2015 - 2016.
As a consultant i have taken over 150 hours of Appraisal courses and was an Apprentice
Appraiser for several years in New l\/le)<ico. l\/iy Doctoral Dissertation was ”Property Rights On
Western Ranches: Federal Rangeland Policy And A l\/|odel For Valuation.”

l have given Expert Testimony/Expert Reports in the Federal Courts of AZ, CO, NV, OR, the US
Court of Federai Claims, and the lBLA. l’ve also given Testimony on Water and Rangeland
Property Rights before the Legis|atures in AZ, Nl\/l, NV & l\/lT. l’ve provided research for and
assisted in writing reports on Western land issues for the US House of Representatives
Committees (for the US Congresswoman Heien Chenoweth-Hage).

On January 7, 2017 l visited the Bundy Ranch outside Bunkerville, Nevada to try to evaluate
losses in property values attributable to destruction of range and water right improvements by
federal Bureau of Land Management personnel in April 2014.

The BLM personnel had used heavy equipment in April 2014 to tear up range and water
improvements operated and maintained by the Cliven Bundy Ranch. l witnessed evidence of
this destruction firsthand, and saw that black plastic water pipes had been haphazardly pulled
up out of the ground by government backhoes. Pieces and shards of Water lines had been left
to lay on top of the ground.

|n the intervening 3-year period since 2014, Cliven Bundy and his family had made efforts to
temporarily work around the BLM destruction by directing water through the canyon via a
temporary PVC pipe which in places lay on top of the sand.

Further up the canyon l saw that Bundy had greatly improved the range in the past. Bundy had
improved water capture with well-engineered filtering mechanisms to capture water for
livestock and wildlife Based on my knowledge and experience, it is likely that numbers and
quality of wildlife and ecosystems had improved because of Bundy’s improvements

Based on my knowledge and expertise regarding range and water improvements |
conservatively estimate that the improvements had cost the Bundy Ranch at least $100,000 in
parts and materials Based on my knowledge and experience, the labor costs required to
properly install this equipment would likely have a value of at least three (3) times the value of
the materials Thus, the destruction of the water improvements l witnessed must have caused
at least $400,000.00 of damage ‘

l\/iind you, the destruction of the water improvements l witnessed was only a small part of the
total destruction caused by the BLM in 2014. l am aware of other improvements to water
delivery in other valleys on the Bundy Ranc`h operations which l did not personally witness An
evidentiary hearing is needed for further factfinding regarding that greater destruction

| estimate that the water improvements in the canyon corridor l witnessed must have improved
the longterm value of the operation by substantially more than $1 million. The destruction of
those water systems must therefore have caused that much harm to the ranch operation

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Further l sayeth not,

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